           Case 1:19-cv-12550 Document 24 Filed 12/19/19 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


JOSEPH SCLAFANI, MICHAEL FEINSTEIN,
and BRET CAPPOLA,

                    Plaintiffs,

CAROL A. MICI, in her official capacity as
Commissioner of the Massachusetts Department     C.A. No.
of Corrections,
DOUGLAS DEMOURA, in his official capacity
as Superintendent of MCI-Cedar Junction, and
STEVE SILVA, in his official capacity as
Superintendent of MCI-Norfolk,

                   Defendants.
.   -                Case 1:19-cv-12550 Document 24 Filed 12/19/19 Page 2 of 3




                               DECLARATION OF JONATHAN HOWLETT

        Pursuant to 28 U.S.C. § 1746, I, Jonathan Howlett, declare as follows:


        1. I am 38 years old. I am currently incarcerated at MCI-Cedar Junction.

        2. I have been diagnosed with opioid use disorder. I have been prescribed buprenorphine to

           treat my opioid use disorder. I have been iq the buprenorphine program at MCI-Cedar

           Junction since early October, 2019.

        3. My doctor in the community prescribed me 22 mg of buprenorphine per day to treat my

           opioid use disorder.

        4. Dr. Hameed, the doctor at Cedar Junction, prescribed me only 4 mg of buprenorphine per

           day.

        5. Dr. Hameed told me nobody at Cedar Junction is allowed to get more than 8 mg per day of

           buprenorphine.

        6. Dr. Hameed also told me that Cedar Junction will only provide buprenorphine for a

           maximum of 90 days.

        7. I wrote to the Superintendent of Cedar Junction asking to be able to stay on my medication. I

           received a written response on November 8, 2019 from Jodi Hockert-Lotz, the Deputy

           Superintendent She wrote: "At this time the treatment program is offered to inmates for their

           first 90 days of incarceration and is available as part of an inmates release to the

           community."

        8. My buprenorphine prescription is set to be discontinued on January 6, 2019. I am desperate

           to stay on my lifesaving medication.

        9. So that I can receive medication for addiction treatment while incarcerated, I would like to

           serve the remainder of my sentence at the Franklin County House of Correction. It is my


                                                         1
...               Case 1:19-cv-12550 Document 24 Filed 12/19/19 Page 3 of 3




         understanding that the Superintendent and Medical Director at Franklin County House of

         Correction have agreed to take me, because they want me to be able to stay on my

         medication, and that they have communicated this information to the Department of

         Correction. I am currently waiting for the Department of Correction to approve the transfer.


      Executed on December l.i_, 2019




                                                     2
